
296 N.E.2d 431 (1973)
Luther HICKS, Appellant,
v.
STATE of Indiana, Appellee.
No. 271S28.
Supreme Court of Indiana.
May 24, 1973.


*432 ON PETITION FOR REHEARING
PRENTICE, Justice.
Appellant has filed his Petition for Rehearing.
Appellant first urges a review of the issue of the appellant's guilt but presents nothing not fully considered by this Court when the matter was initially before us. Rehearing upon such issue is therefore denied.
Appellant further asks that we exercise our constitutional authority to review his sentence and reduce it to conform with the sentence (fine only) of his co-defendants. We regard this matter as being timely raised in this particular case, only because our authority in this regard was granted by a constitutional amendment not in effect at the time the appeal was filed and briefed. However, we believe the evidence reviewed reflects circumstances supporting the disparity complained of and that the sentence imposed by the trial judge should not be disturbed.
Petition denied.
All Justices concur.
